
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant, an inmate at the Mount Olive Correctional Complex, seeks to recover $28.00 for tobacco products that were stolen from their storage location in the prison. Claimant was permitted to use the tobacco products for religious purposes.
In conformity with the Court’s decisions relating to the tobacco products that were stolen from the prison, respondent, in its Answer, admits liability in this claim in the amount of $28.00. In McClain v. Div. of Corrections, CC-08-0533 (Opinion Issued July 24, 2009), the Court found that the claimant was entitled to recover the value of his tobacco products which where not adequately secured at the prison. See also Posey v. Div. of Corrections, CC-09-0068 (Opinion Issued July 24, 2009).
It is the opinion of the Court of Claims that the claimant should be awarded the sum of $28.00 on this claim.
Award of $28.00.
